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            EXHIBIT I
            Case 3:23-cv-00243-AMO
                 Case 20-12836-JTD Document
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

    In re                                               :
                                                        : Chapter 11
    CRED INC., et al.,1                                 :
                                                        : Case No. 20-12836 (JTD)
                                   Debtors.             : (Jointly Administered)



        Pursuant to Section 1102(a)(1) of the Bankruptcy Code, I hereby appoint the following persons
to the Committee of Unsecured Creditors in connection with the above-captioned cases:


1.               DragonFly International Holding Limited, Attn: Lindsay Lin, Maples Corporate Services
                 (BVI) Limited, Kington Chambers, PO Box 173, Road Town, Tortola, British Virgin
                 Islands, Phone: (703) 994-5176; Fax: (415) 889-6447; Email: lindsay@dcp.capital

2.               Wendy Laraine Lee (an individual)

3.               Cedric de Lisser (an individual)

4.               Maple Partners, LLC, Attn: Joshua Segall, 1309 Coffeen Avenue Suite 1200, Sheridan,
                 WY 82801, Phone: (334) 245-3112; Fax: (307) 316-0481; Email:
                 maplepartnersllc@gmail.com

5.               Michael Michelin (an individual)

6.               Christopher Moser (an individual)

7.               Kyle Tuo Wang (an individual)


DATED: December 3, 2020                             ANDREW R. VARA
                                                    United States Trustee, Region 3


                                                    /s/ Joseph J. McMahon for
                                                    T. PATRICK TINKER
                                                    ASSISTANT UNITED STATES TRUSTEE


Attorneys assigned to these cases: Joseph J. McMahon, Jr., Esq., Tel: (302) 573-6491, Fax: (302) 573-6497,
Email: joseph.mcmahon@usdoj.gov and John Schanne, Esq., Tel: (302) 573-6491, Fax: (302) 573-6497,
Email: john.schanne@usdoj.gov

Proposed Debtors’ Counsel: Scott D. Cousins, Esq., Tel: (302) 824-7081, Fax: (302) 295-0331, Email:
scott.cousins@cousins-law.com
1
 The Debtors in these chapter 11 cases, along with the last four digits of each debtor’s tax identification number, as
applicable, are as follows: Cred Inc. (8268), Cred (US) LLC (5799), Cred Capital, Inc. (4064), Cred Merchant Solutions
LLC (3150), and Cred (Puerto Rico) LLC (3566). The Debtors’ mailing address is 3 East Third Avenue, Suite 200, San
Mateo, California 94401.
